                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Harrisonburg Division


 JOHN DOE 4, by and through his
 next friend, NELSON LOPEZ, on behalf of
 himself and all persons similarly situated,
                                                       CIVIL ACTION
        Plaintiffs,

 v.                                                    Case No.: 5:17-cv-00097-EKD

 SHENANDOAH VALLEY JUVENILE
 CENTER COMMISSION,                                    Honorable Elizabeth K. Dillon

        Defendant.

                      DEFENDANT’S MOTION FOR PROTECTIVE ORDER

        Defendant Shenandoah Valley Juvenile Center Commission, by counsel, pursuant to Fed.

 R. Civ. P. 26(c), moves this Court for the entry of a Protective Order limiting the scope of

 Plaintiffs’ First Requests for Admissions to (a) facts and documents related to members of the

 class certified by the Court on June 27, 2018; and (b) the time period encompassed by

 Defendant's current behavioral management program, which commenced on August 1, 2016. In

 accordance with Rule 26(c)(1), counsel for Defendant certifies having conferred in good faith

 with Plaintiffs' counsel on several occasions in an effort to resolve this matter without the

 involvement of the Court. However, the parties have not been able to resolve this matter, which

 involves evidentiary issues pertinent to the parties' preparation for and conduct of the trial in this

 case. Defendant respectfully requests that the Court enter an Order granting its motion for good

 cause shown and for the reasons set forth in Defendant’s supporting Brief filed

 contemporaneously herewith.




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 DATED: October 17, 2018

                                                Respectfully submitted,
                                          SHENANDOAH VALLEY JUVENILE
                                               CENTER COMMISSION
                                                     By Counsel

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                                         CERTIFICATE

         I certify that on the 17th day of October, 2018, I electronically filed the forgoing

 document with the Clerk of the Court using the CM/ECF system, which will send notification of

 such filing to:


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